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         Attorneys for Plaintiffs,
    10   Masimo Corporation and
         Cercacor Laboratories, Inc.
    11
                           IN THE UNITED STATES DISTRICT COURT
    12
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
    13
                                       SOUTHERN DIVISION
    14

    15                                       )   Case No. 8:18-CV-02001-JVS-JDE
         MASIMO CORPORATION, a               )
    16                                       )
         Delaware corporation; and           )   PLAINTIFFS MASIMO
    17   CERCACOR LABORATORIES, INC., )          CORPORATION AND
         a Delaware corporation,             )   CERCACOR LABORATORIES,
    18                                       )   INC.’S NOTICE OF MOTION
                                             )   AND MOTION FOR
    19         Plaintiffs/Counterdefendants, )   PRELIMINARY INJUNCTION
                                             )
    20                                       )
               v.                            )   Hon. James V. Selna
    21                                       )   Hon. Magistrate John D. Early
         TRUE WEARABLES, INC., a             )
    22                                       )
         Delaware corporation; and           )   Hearing: March 22, 2021
    23   MARCELO LAMEGO, an individual, )        Time: 1:30 p.m.
                                             )   Court: Room: 10C
    24                                       )
               Defendants/Counterclaimants.  )
    25                                       )   Discovery Cutoff: 05/21/2021
                                             )   Pre-Trial Conf.: 12/13/2021
    26                                       )   Trial: 01/11/2022
                                             )
    27                                       )
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     1                PLEASE TAKE NOTICE that on March 22, 2021 at 1:30 p.m., or as
     2   soon thereafter as counsel may be heard, in the Courtroom of the Honorable
     3   James V. Selna, Courtroom 10C of the United States District Court for the
     4
         Central District of California, located at 411 West Fourth Street, Santa Ana, CA
     5
         92701, Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc.
     6
         (collectively, “Plaintiffs”) will and hereby do move this Court for a Preliminary
     7
         Injunction. Plaintiffs seek an Order from this Court that would preserve the
     8
         status quo and require Defendants to take all necessary steps to prevent
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    10
         publication of any patent application or other document that would disclose one

    11   of Plaintiffs’ trade secrets, until trial in this matter.

    12               This motion is based upon this Notice of Motion, the Memorandum of
    13    Points and Authorities, the Declarations of Dr. James McNames, Jesse Chen,
    14    Joe Kiani and Brian Claassen, including the exhibits attached thereto, all filed
    15    concurrently herewith, any subsequently filed briefs, declarations and other
    16    pleadings and papers filed in this action, and any other arguments, evidence, and
    17    matters submitted to the Court, at the hearing or otherwise.
    18

    19                                        Respectfully submitted,
    20                                        KNOBBE, MARTENS, OLSON & BEAR, LLP
    21    Dated: February 18, 2021            By: /s/Brian C. Claassen
                                                  Joseph R. Re
    22                                            Stephen C. Jensen
                                                  Irfan A. Lateef
    23                                            Perry D. Oldham
                                                  Brian C. Claassen
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                                                  Attorneys for Plaintiffs,
    25                                            Masimo Corporation and
                                                  Cercacor Laboratories, Inc.
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